                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:05cr248-1


UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )              ORDER
                                                     )
DANNY JOE BROOKS,
                                                     )
                  Defendant.                         )
________________________________________             )


       THIS CAUSE coming on to be heard before the undersigned, Dennis L. Howell, United

States Magistrate Judge for the Western District of North Carolina, upon the motion to continue the

hearing of the defendant’s motion to suppress filed in this matter on December 22, 2005 and it

appearing to the court that good cause has been shown for the granting of said motion.

       IT IS, THEREFORE, ORDERED that the hearing of the defendant’s motion be continued

until a setting during the week of January 23, 2005. It is further ORDERED that the motion to

suppress of any co-defendants be scheduled at that same setting.




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                    Signed: January 3, 2006




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